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                                                                                                                  U.S. DISTRICT COURT
                                                                                                                      N.D. OF ALABAMA


                              UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION
RUKIYA P. McCLAIN,            }
                              }
     Plaintiff,               }
                              }
v.                            }                                  Case No.: 2:18-CV-1682-RDP
                              }
STATE OF ALABAMA DEPARMENT OF }
HUMAN RESOURCES, et al.,      }
                              }
     Defendants.              }


                                        MEMORANDUM OPINION

         This case is before the court on Defendants‘ Motion to Dismiss Plaintiff‘s Complaint.

(Doc. # 6). Plaintiff has responded (Doc. # 11), and the Motion is ripe for decision.1 After careful

review, and for the reasons explained below, the court concludes that Defendants‘ Motion to

Dismiss is due to be granted in part and denied in part.

I.       Background

         Plaintiff, Rukiya P. McClain, claims that Defendants discriminated against her based on

her race and sex in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et

seq. (Doc. # 1). She also raises a retaliation claim under 42 U.S.C. § 2000e-3(a). (Id.). In support

of these claims, Plaintiff alleges the following facts in her Complaint.

         Plaintiff, an African-American female, was employed as a Child Welfare Worker for over

thirteen years with Defendant Jefferson County Department of Human Resources (hereinafter

―Jefferson County DHR‖). (Doc. # 1 at ¶ 10). Plaintiff asserts that although she performed her




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  Defendants chose not to file a Reply brief as permitted by the court‘s docket entry indicating the briefing schedule
for this case. (Doc. # 7).

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job competently throughout her employment, Defendant routinely treated her differently than her

―white and/or male and/or younger counterparts.‖ (Id. at ¶ 12).

       Specifically, Plaintiff alleges that on July 8, 2015 at 3:36 a.m., her co-worker, Chrislyn

Pepper, received a call through the crisis stabilization unit of DHR. (Id. at ¶ 13). Pepper then

transferred the call to Plaintiff, who was on call for the night shift. (Id. at ¶ 14). Together, they

questioned the ―Reporter‖ (that is, the person making the report) and determined that his

information did not amount to a ―neglect or endangerment call.‖ (Id. at ¶¶ 15, 18). Plaintiff

claims that they investigated the background of the mother and child in question, but did not

detect any history or association with the Reporter. (Id. at ¶ 24). She further contends that at the

time of this call, DHR had no policy or procedure that required its employees to perform a search

for a history on a Reporter. (Id. at ¶ 22). Plaintiff claims that pursuant to DHR policy, she and

Pepper did not investigate the Reporter‘s history because they had no reason to believe there was

any allegation against him relating to the abuse or neglect of a child. (Id. at ¶ 23).

       On July 15, 2015, Plaintiff met with the Assistant Director and Program Manager at

Jefferson County DHR. (Id. at ¶ 25). During that meeting, they allegedly informed Plaintiff that

she would be receiving a ―Charge Letter‖ for disciplinary action based on her response to the

July 8, 2015 call. (Id.). Thereafter, Defendants held an administrative hearing on August 12,

2015 that resulted in Plaintiff‘s termination on October 2, 2015. (Id. at ¶¶ 26, 27; Doc. # 1-1).

According to Plaintiff, Defendants‘ justification for her termination was that she failed to

perform her job according to DHR Rules and the Rules of the State Personnel Board. (Id.).

       Additionally, Plaintiff claims that Pepper was disparately treated—i.e., not disciplined for

her handling of the same call. (Id. at ¶ 33). Instead, Plaintiff submits that Pepper was promoted to

supervisor on or about September 16, 2015, just weeks before Plaintiff‘s termination. (Id. at ¶



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34). Plaintiff alleges that Pepper was treated more leniently because she is ―apparently a bi-racial

female and her age is believed to be less than 40, her nationality is unknown…her

color/complexion is light, and she has no known prior protected activity.‖ (Id. at 4). Plaintiff also

avers that her ―white and/or male and/or younger colleagues‖ who failed to adequately perform

their jobs by contributing to ―child injuries and or deaths‖ were not similarly punished or

terminated. (Id. at ¶ 32).

        On February 18, 2016, Plaintiff filed a Charge of Discrimination against Defendants with

the Equal Employment Opportunity Commission (―EEOC‖). (Doc. # 1-1). Plaintiff‘s EEOC

charge asserts that she was subjected to (1) discrimination based on race, sex, color, age, and

national origin and (2) retaliation for engaging in protected activity. (Id.). She indicated that the

alleged discrimination began on August 12, 2015 (the date of her administrative hearing). (Id.).

The court notes that February 18, 2016 is within 180 days of the alleged unlawful employment

practices.

        On July 12, 2018, the EEOC issued Plaintiff a Dismissal and Notice of Rights. (Doc. # 1-

2). Although Plaintiff does not indicate when she received this letter, Rule 6 of the Federal Rules

of Civil Procedure creates a presumption that receipt occurs three days after the mailing date.

Federal Rule of Civil Procedure 6(d). Because three days after the mailing date was Sunday, July

15, 2018, Plaintiff is presumed to have received the Dismissal and Notice of Rights on Monday,

July 16, 2018. Plaintiff filed her Complaint initiating this action on October 14, 2018. (Doc. # 1).

The court notes that this date is within ninety (90) days of July 16, 2018, the date Plaintiff is

presumed to have received the letter.




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II.    Standard of Review

       The Federal Rules of Civil Procedure require that a complaint provide ―a short and plain

statement of the claim showing that the pleader is entitled to relief.‖ Fed. R. Civ. P. 8(a)(2).

However, the complaint must include enough facts ―to raise a right to relief above the

speculative level.‖ Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Pleadings that contain

nothing more than ―a formulaic recitation of the elements of a cause of action‖ do not meet Rule

8 standards, nor do pleadings suffice that are based merely upon ―labels and conclusions‖ or

―naked assertion[s]‖ without supporting factual allegations. Id. at 555, 557. In deciding a Rule

12(b)(6) motion to dismiss, courts view the allegations in the complaint in the light most

favorable to the non-moving party. Watts v. Fla. International Univ., 495 F.3d 1289, 1295 (11th

Cir. 2007).

       To survive a motion to dismiss, a complaint must ―state a claim to relief that is plausible

on its face.‖ Twombly, 550 U.S. at 570. ―A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.‖ Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Although ―[t]he

plausibility standard is not akin to a ‗probability requirement,‘‖ the complaint must demonstrate

―more than a sheer possibility that a defendant has acted unlawfully.‖ Id. A plausible claim for

relief requires ―enough fact[s] to raise a reasonable expectation that discovery will reveal

evidence‖ to support the claim. Twombly, 550 U.S. at 556.

       In considering a motion to dismiss, a court should ―1) eliminate any allegations in the

complaint that are merely legal conclusions; and 2) where there are well-pleaded factual

allegations, ‗assume their veracity and then determine whether they plausibly give rise to an

entitlement to relief.‘‖ Kivisto v. Miller, Canfield, Paddock & Stone, PLC, 413 F. App‘x 136,



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138 (11th Cir. 2011) (unpublished) (quoting Am. Dental Ass’n v. Cigna Corp., 605 F.3d 1283,

1290 (11th Cir. 2010)). That task is context specific and, to survive the motion, the allegations

must permit the court based on its ―judicial experience and common sense . . . to infer more than

the mere possibility of misconduct.‖ Iqbal, 556 U.S. at 679. If the court determines that well-

pleaded facts, accepted as true, do not state a claim that is plausible, the claims are due to be

dismissed. Twombly, 550 U.S. at 570.

III.   Analysis

       In their Motion to Dismiss, Defendants seek dismissal of Plaintiff‘s claims on four

separate grounds. Defendants argue that (1) Plaintiff‘s individual and official capacity claims

against Angela McClintock are due to be dismissed (Doc. # 6 at 5-6); (2) Plaintiff‘s claims for

monetary damages are barred by the Eleventh Amendment (Id. at 6-7); (3) Plaintiff has failed to

sufficiently plead facts to state a claim for race and sex discrimination under Title VII (Id. at 8-

10); and (4) Plaintiff lacks standing to pursue injunctive and declaratory relief (Id. at 10-12). The

court addresses each argument in turn and finds that Defendants‘ Motion is due to be granted in

part and denied in part.

           A. All Title VII Claims Against Defendant McClintock are Due to be Dismissed

       In her claims for Title VII race discrimination and retaliation, Plaintiff names Angela

McClintock both in her individual capacity and her official capacity as the Director of the

Jefferson County DHR. (Doc. # 1). Defendants correctly argue that individual capacity suits

under Title VII are inappropriate. (Doc. # 6 at 5-6). Indeed, the Eleventh Circuit has confirmed

that the proper method for an employee to recover under Title VII is by suing the employer.

Busby v. City of Orlando, 931 F.2d 764, 772 (11th Cir. 1991); see also Cross v. Ala. Dep’t of

Mental Health & Mental Retardation, 49 F.3d 1490, 1504 (11th Cir. 1995).



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        Furthermore, because Plaintiff has properly named her employers as Defendants to her

Title VII claims, her claims against McClintock in her official capacity may be dismissed as

duplicative. See Scott v. Ala. Dep’t of Human Resources, 2016 WL 1573266, at *2 (N.D. Ala.

April 16, 2016) (dismissing official capacity claim against individual defendant on a second

motion to dismiss because plaintiff had already named Alabama DHR and Jefferson County

DHR as defendants); see also Kentucky v. Graham, 473 U.S. 159, 166 (1985) (―As long as the

government entity receives notice and an opportunity to respond, an official-capacity suit is, in

all respects other than name, to be treated as a suit against the entity.‖).

        In the face of this clear precedent, Plaintiff has withdrawn any and all claims against

Defendant McClintock in her individual and official capacities. (Doc. # 11 at 9-10). Therefore,

all claims against Defendant McClintock are due to be dismissed, and Plaintiff‘s claims for Title

VII race discrimination and retaliation may proceed against Alabama DHR and Jefferson County

DHR.

            B. The Eleventh Amendment Does Not Bar Plaintiff’s Claims for Back Pay

        Defendants mistakenly rely on Edelman v. Jordan, 415 U.S. 651 (1974) to argue that the

Eleventh Amendment bars state agencies from using state funds to remedy past Title VII

violations. (Doc. # 6 at 6-7). In Edelman, the Supreme Court held that the Eleventh Amendment

shielded Illinois state officials from retroactively awarding wrongfully withheld benefits. 415

U.S. at 678. The court reasoned that absent a state‘s waiver of its immunity or a congressional

authorization to sue, a state cannot be compelled to compensate a plaintiff for the past violations

of its officials. Id. at 672.

        But, two years later in Fitzpatrick v. Bitzer, the Supreme Court clarified its ruling within

the context of Title VII. 427 U.S. 445 (1976). The Court differentiated the two cases based on



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the ―threshold fact of congressional authorization‖ for a citizen to sue his or her state employer

under Title VII. Id. at 446.Thus, its holding in Edelman did not prevent states from awarding

back pay to plaintiffs suing for state violations of Title VII, because state defendants lack

Eleventh Amendment immunity in Title VII actions. Id. at 451-57.

         Since Fitzpatrick, the Eleventh Circuit has acknowledged Congress‘s clear intent ―to

abrogate the states‘ Eleventh Amendment immunity when it amended Title VII to cover state and

local governments.‖2 In re Employment Discrimination Litig. Against State of Ala., 198 F.3d

1305, 1317 (11th Cir. 1999). Moreover, Title VII expressly authorizes court-ordered back pay

awards from state defendants. When confronted with an unlawful employment practice, federal

courts may ―order such affirmative action as may be appropriate, which may include, but is not

limited to, reinstatement or hiring of employees, with or without back pay…or any other

equitable relief as the court deems appropriate.‖ 42 U.S.C. § 2000e-5(g). Given express

congressional authority for an individual to sue state defendants for monetary damages under

Title VII, Plaintiff may proceed with her claims for back pay.

              C. Plaintiff’s Claims for Race and Sex Discrimination are Due to be Replead

         Defendants assert that Plaintiff‘s Complaint does not state a claim for race or sex

discrimination because it fails to plead a prima facie case of discrimination in that it does not

explain how Defendants treated similarly situated employees outside of Plaintiff‘s class more

favorably. (Doc. # 6 at 8-10). Specifically, Defendants argue that although Plaintiff has

attempted to plead the existence of a comparator for her discrimination claims, she has not

identified a comparator outside of her own class. (Id. at 9-10). In the alternative, for similar



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  Title VII was first enacted in 1964. At that time, the statutory language did not extend its coverage to state and
local governments. In 1972, however, the statute was amended to make suable "governments, governmental
agencies, [and] political subdivisions." 42 U.S.C. § 2000e(a).

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reasons, the court finds that Plaintiff‘s claims for Title VII race and sex discrimination are due to

be replead.3

         First, the court notes that allegations relating to the existence of a comparator are not

required to survive a motion to dismiss. Although ―the classic method of establishing a prima

facie case of race [or sex] discrimination is to identify a similarly situated comparator outside the

plaintiff's protected group that was treated more favorably than the plaintiff‖ Walker v. Love’s

Travel Ctr., 2017 WL 4931693, at *2 (S.D. Ala. Oct 31, 2017), contrary to Defendants‘

assertion, a complaint ―need not allege facts sufficient to make out a classic McDonnell Douglas

prima facie case.‖ Davis v. Coca–Cola Bottling Co. Consol., 516 F.3d 955, 974 (11th Cir.2008)

(citing Swierkiewicz v. Sorema N.A., 534 U.S. 506, 511 (2002)). Rather, a complaint need only

―provide enough factual matter (taken as true) to suggest intentional race [or sex]

discrimination.‖ Id. (quotation marks omitted) (citing Twombly, 550 U.S. at 555). It follows,

then, that a plaintiff can satisfy Rule 8(a) pleading requirements without making specific

allegations concerning the existence of a similarly situated comparator. Walker, 2017 WL

4931693, at *2-3 (explaining that allegations regarding the existence of a comparator are

unnecessary at the motion to dismiss stage because a plaintiff may establish a prima facie case of

Title VII discrimination, and even liability, without reference to a comparator).

         In support of her race and sex discrimination claims, Plaintiff alleges that Chrislyn

Pepper and her other white, male colleagues received more favorable treatment following similar

(or worse) violations of DHR policy. (See generally Doc. # 1). Although comparator allegations

are not required in order to survive a motion to dismiss, Plaintiff‘s chosen comparators bear

discussion.

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  Instead of granting Defendants‘ Motion to Dismiss, the court concludes the appropriate course here is to allow
Plaintiff an opportunity to replead her discrimination claims. See Federal Rule of Civil Procedure Rule 15(a)(2)
(―The Court should freely give leave [to amend] when justice so requires.‖).

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       Beginning with Pepper, Plaintiff claims that she was promoted to supervisor after

participating in the same phone call that allegedly resulted in Plaintiff‘s termination. (Doc. # 1 at

4). Plaintiff describes Pepper as an ―apparently bi-racial female‖ and attributes Pepper‘s more

favorable treatment to her ambiguous race. (Doc. # 1 at 4; Doc. # 11 at 15-18). Defendants attach

to their Motion to Dismiss DHR‘s ―Employment Status Maintenance‖ record for Pepper, which

shows that she is an African-American female. (Doc. # 6-1). Defendants argue Plaintiff‘s race

discrimination claim fails because it is based upon someone within her own class receiving more

favorable treatment. (Doc. # 6 at 9-10). The court makes no comment on the factual question of

Pepper‘s race because consideration of the Employment Status Maintenance record would be

improper at this stage as it falls outside the four corners of Plaintiff‘s Complaint. Day v. Taylor,

400 F.3d 1272, 1275-76 (11th Cir. 2005). Furthermore, whether Pepper is an adequate

comparator is a question better suited for summary judgment disposition after appropriate

discovery.

       Similarly, Defendants contend that Plaintiff‘s sex discrimination claim fails because

Plaintiff has only identified Pepper (a female within her own class) as a comparator. But, in

making this argument, Defendants seem to have overlooked Plaintiff‘s reference to her white,

male colleagues, who supposedly received more favorable treatment after committing worse

violations of DHR policy. (Doc. # 1 at 9-10). Although Plaintiff‘s allegations about these male

colleagues are by no means detailed, they are sufficient to allow Plaintiff the opportunity to

replead.

       The court reminds Plaintiff that conclusory allegations that ―an employer treated

similarly situated employees of another race [or sex] differently, without further factual

development, ‗epitomizes speculation and therefore does not amount to a short and plain



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statement of [a plaintiff's] claim under Rule 8(a).‘‖ Wells v. Voestalpine Nortrak, Inc., 2015 WL

554779, at *3 (N.D. Ala. Feb. 11, 2015) (quoting Davis, 516 F.3d at 974) (finding that plaintiffs

failed to state a claim for race discrimination where the complaint alleged only that the plaintiffs

were denied promotions and treated differently than similarly situated white employees solely

because of race)). For example, Plaintiff does not provide: (1) the name or position of any of the

white, male employees she claims are similarly situated and received more favorable treatment

following similar or worse violations of DHR policy; (2) the circumstances of these alleged

violations; or (3) the name of her supervisor or whether that supervisor also oversees the

referenced similarly situated employees. Depending on the context of the claim and allegations

supporting it, a plaintiff may not be required to allege all this information to make out a

McDonnell Douglas prima facie case; but, without more detail than that provided here, there is a

risk that the race and sex claims asserted under Title VII amount to little more than speculation.

Consequently, the court believes it is best to replead these claims. Having said that, the court

reminds Defendants that all Plaintiff must do at this point is put them on notice of a plausible

claim.

            D. Plaintiff May Seek Injunctive and Declaratory Relief

         Lastly, Defendants argue that the injunctive and declaratory relief Plaintiff has requested

is not available to remedy alleged past violations of federal law. (Doc. # 6 at 10-12). Again, the

text of Title VII grants district courts broad authority to fashion the relief it deems appropriate to

remedy unlawful employment practices. ―[T]he court may enjoin the respondent from engaging

in such unlawful employment practice, and order such affirmative action as may be appropriate

... or any other equitable relief as the court deems appropriate.‖ 42 U.S.C.A. § 2000e–5(g)(1).

Simply put, ―[t]he district court has broad, equitable discretion to grant any equitable relief it



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deems appropriate to make persons whole for injuries suffered on account of unlawful

employment discrimination.‖ Rivers v. Washington County Bd. of Educ., 770 F.2d 1010, 1012

(11th Cir.1985).

       For example, in cases where a plaintiff has been terminated due to some discriminatory

employment practice, courts have ordered that any documents reflecting such discrimination be

removed from the employee‘s personnel file. See Herawi v. State of Ala. Dep't of Forensic Scis.,

330 F. Supp. 2d 1305, 1309 (M.D. Ala. 2004). Plaintiff also seeks reinstatement as a remedy, and

her Complaint ―plausibly indicate[s] a likelihood of future injury if Plaintiff were to be reinstated

to her former position with Jeff. Co. DHR.‖ Bell v. Alabama Dep't of Human Res., 2017 WL

2443493, at *4 (N.D. Ala. June 6, 2017) (declining to dismiss a Title VII plaintiff‘s request for

injunctive and declaratory relief where the plaintiff seeks reinstatement as a remedy for past

discriminatory conduct). At this stage of litigation, the court cannot foreclose Plaintiff‘s

opportunity to seek injunctive and declaratory relief. For these reasons, Defendants‘ motion to

dismiss Plaintiff‘s request for injunctive and declaratory relief is due to be denied.

IV.    Conclusion

       For the reasons stated above, Defendants‘ Motion to Dismiss is due to be granted in part

and denied in part without prejudice. The Motion is granted as to Plaintiff‘s individual and

official capacity claims against Defendant McClintock, thus all Title VII claims against

Defendant McClintock are dismissed. The Motion is denied in all other respects. The court

directs that, to the extent she wishes to pursue her Title VII race and sex discrimination claims,

Plaintiff must file an amended complaint within fifteen (15) days of the date of this

Memorandum Opinion and accompanying Order.

       An Order consistent with this Memorandum Opinion will be entered.



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DONE and ORDERED this January 23, 2019.



                              _________________________________
                              R. DAVID PROCTOR
                              UNITED STATES DISTRICT JUDGE




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